              Case 3:19-cv-05181-BHS Document 20 Filed 04/02/19 Page 1 of 28



 1                                                                          Honorable Benjamin H. Settle

 2

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 4

 5

 6                               UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF WASHINGTON
 7                                        AT TACOMA

 8   CEDAR PARK ASSEMBLY OF GOD OF                    )       Civil No. 3:10-cv-05181
     KIRKLAND, WASHINGTON,                            )
 9                                                    )                    FIRST AMENDED
                  Plaintiff,                          )                 VERIFIED COMPLAINT
10                                                    )                  FOR INJUNCTIVE AND
          v.                                          )                 DECLARATORY RELIEF
11                                                    )
     MYRON “MIKE” KREIDLER, in his official           )
12   capacity as Insurance Commissioner for the State )
     of Washington; JAY INSLEE, in his official       )
13   capacity as Governor of the State of Washington, )
                                                      )
                  Defendants.
14

15          Plaintiff, Cedar Park Assembly of God of Kirkland, Washington, by and through its

16   undersigned attorneys, files this Complaint for Injunctive and Declaratory Relief against the

17   Defendants, in their official capacities, and allege as follows:

18                                           INTRODUCTION

19          1.      In January 1973, the Supreme Court created a constitutional right to abortion in Roe

20   v. Wade, 410 U.S. 113 (1973). Recognizing that many churches and people of faith believed that

21   having an abortion, performing an abortion, or participating in an abortion are sinful acts, federal

22   and state governments acted immediately to protect religious conscience rights. The federal

23   government passed legislation known as the Church Amendments, 42 U.S.C. § 300a-7 et seq., to

24   protect the conscience rights of individuals and entities who object to performing or assisting in
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     COMPLAINT 3:19-cv-05181                                                    (480) 444-0020
              Case 3:19-cv-05181-BHS Document 20 Filed 04/02/19 Page 2 of 28



 1   abortion when doing so is contrary to the provider’s moral convictions or religious beliefs. The

 2   Church Amendments also prohibit government contractors and grant or loan recipients from

 3   discriminating against physicians or health-care personnel in employment for declining to perform

 4   an abortion based on moral convictions or religious beliefs. Legislation in some 45 states was

 5   enacted to protect nurses, physicians, and medical students from being compelled to participate in

 6   abortion. The Public Health Service Act ties federal funding to nondiscrimination against

 7   individuals and institutions declining to perform abortions. And the Hyde Amendment bars the use

 8   of federal taxpayer funds to pay for abortion except in very limited circumstances.

 9          2.      How times have changed. In 2018, the State of Washington acted in concert with

10   Planned Parenthood—the nation’s largest abortion provider—and NARAL Pro-Choice

11   Washington to draft, promote, pass, and implement SB 6219, which requires all Washington

12   employers to provide abortion and abortifacient coverage in their employee health plans. SB 6219

13   contains numerous exemptions; but none of those exemptions are available to churches or any

14   other religious organization. Indeed, churches like the Plaintiff Cedar Park are now obligated to

15   provide and pay for a health plan that covers abortions. Even when the federal government was

16   requiring religiously-motivated private businesses to offer health plans that covered abortion, it

17   exempted churches. Not so the State of Washington.

18          3.      Washington’s attack on people of faith is intentional. It represents the kind of

19   deliberate religious persecution that our country was founded to prevent. This Court should

20   preliminarily and permanently enjoin SB 6219.

21                                      NATURE OF THE CASE

22          4.      This is a pre-enforcement federal civil rights action brought under 42 U.S.C. §

23   1983, challenging the constitutionality of Washington Senate Bill 6219, codified at RCW §§

24   48.43.072 & 48.43.073. SB 6219 was signed into law by Governor Jay Inslee on March 21, 2018.
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     COMPLAINT 3:19-cv-05181                                                (480) 444-0020
              Case 3:19-cv-05181-BHS Document 20 Filed 04/02/19 Page 3 of 28



 1   A copy of SB 6219 is attached hereto as Exhibit A.

 2           5.       Plaintiff Cedar Park Assembly of God of Kirkland, Washington is a Christian

 3   church. Cedar Park’s deeply held religious belief is that abortion is the ending of a human life, and

 4   is a grave sin. Therefore, in furtherance of such beliefs, Cedar Park does not provide coverage for

 5   abortion or abortifacient contraceptives in its employee health insurance plan.

 6           6.       Cedar Park challenges the constitutionality and the legality of Washington State

 7   Senate Bill 6219, which mandates insurance coverage for abortion if plans provide coverage for

 8   maternity care. SB 6219 further requires coverage of contraceptives that act to destroy an embryo

 9   post-fertilization, and are therefore abortifacients.

10           7.       The requirement that Cedar Park provide coverage for abortion and abortifacient

11   contraceptives violates its sincerely held religious beliefs.

12           8.       SB 6219’s provisions apply to health insurance plans issued or renewed on or after

13   January 1, 2019. Cedar Park’s Plan renews on August 1, 2019. Therefore, preliminary injunctive

14   relief is needed before that date to prevent irreparable harm to Plaintiff.

15                                     JURISDICTION AND VENUE

16           9.       This action arises under 42 U.S.C. § 1983 et seq. (the “Civil Rights Act”) and the

17   First and Fourteenth Amendments to the United States Constitution.

18           10.      The Court has subject matter jurisdiction under 28 U.S.C. §§ 1331 and 1343.

19           11.      The Court has jurisdiction to issue the requested declaratory relief under 28 U.S.C.

20   §§ 2201 & 2202 and Federal Rule of Civil Procedure 57.

21           12.      The Court has jurisdiction to award the requested injunctive relief under 28 U.S.C.

22   § 1343(a)(3), and Federal Rule of Civil Procedure 65.

23           13.      The Court has jurisdiction to award reasonable attorneys’ fees and costs under 42

24   U.S.C. § 1988.
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     COMPLAINT 3:19-cv-05181                                                   (480) 444-0020
              Case 3:19-cv-05181-BHS Document 20 Filed 04/02/19 Page 4 of 28



 1           14.     Venue lies in the Federal District Court for the Western District of Washington

 2   under 28 U.S.C. § 1391(b) and (e), because a substantial part of the events or omissions giving rise

 3   to all claims occurred in this district, and Defendants reside in this district.

 4                                                 PARTIES

 5           15.     Plaintiff Cedar Park Assembly of God of Kirkland, Washington is a non-profit

 6   Christian church organized exclusively for religious purposes within the meaning of Section

 7   501(c)(3) of the Internal Revenue Code and is located in Bothell, Washington.

 8           16.     Defendant Myron “Mike” Kreidler is the Insurance Commissioner for the State of

 9   Washington, and he is sued in his official capacity only. The Insurance Commissioner is an elected

10   official of the executive branch. Defendant Kreidler is responsible for the enforcement of all

11   Washington state insurance laws, including SB 6219.

12           17.     Defendant Jay Inslee is the Governor of the State of Washington, and he is sued in

13   his official capacity only. He is the chief executive of the State of Washington and is responsible

14   for overseeing the executive branch, including the Insurance Commissioner. Pursuant to

15   Washington State law, Governor Inslee is responsible for supervising the conduct of all executive

16   offices, including the Insurance Commissioner. RCW § 43.06.010(1). Governor Inslee has final

17   decision making authority over the law challenged herein.

18                                                  FACTS

19   Cedar Park Assembly of God

20           18.     Cedar Park was founded in 1970 and has been serving the Bothell and greater

21   Eastside communities in Washington for nearly 50 years.

22           19.     Cedar Park is affiliated with the Assemblies of God and is also a part of the

23   Northwest Ministry Network. Weekly attendance at Cedar Park’s worship services is

24   approximately 1,500. The church has over 600 members.
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     COMPLAINT 3:19-cv-05181                                                     (480) 444-0020
              Case 3:19-cv-05181-BHS Document 20 Filed 04/02/19 Page 5 of 28



 1          20.      Cedar Park has approximately 185 employees that are eligible for health insurance

 2   coverage.

 3          21.      Jason “Jay” Smith is the Senior Pastor of Cedar Park.

 4          22.      Cedar Park operates various ministries to serve the needs of its congregants and the

 5   community, including, inter alia: a funeral home and chapel; an auto repair shop offering

 6   benevolent discount rates; a university level ministry program; a counseling program staffed by

 7   licensed mental health professionals; and various community groups and ministries that serve

 8   women, men, young adults, and children.

 9          23.      Cedar Park’s ministry also includes operating Cedar Park Christian Schools, which

10   includes five school campuses and a pre-school program. Cedar Park Christian Schools also offers

11   a childcare program. The Bothell campus of Cedar Park Christian Schools has over 1,000 students,

12   ranging from pre-school to 12th grade. Cedar Park Christian Schools is not a separate entity, but

13   operates as part of Cedar Park Assembly of God of Kirkland, Washington.

14   Cedar Park’s Beliefs Regarding the Sanctity of Human Life and Abortion

15          24.      Cedar Park holds and actively professes historic and orthodox Christian beliefs on

16   the sanctity of human life, including the belief that each human life, from the moment of

17   conception, is formed by and bears the image and likeness of God.

18          25.      Cedar Park operates according to its Constitution and Bylaws. Contained in the

19   Constitution and Bylaws is Cedar Park’s “Position Regarding Sanctity of Human Life,” which

20   reads as follows:

21                Under the Imago Dei principle, all human life is sacred and made by God,
                  in His image. Because all humans are image-bearers, human life is of
22                immeasurable worth in all of its dimensions, including pre-born babies,
                  the aged, the physically or mentally challenged, and every other stage or
23                condition from conception through natural death. As such, we as
                  Christians are called to defend, protect, and value all human life.
24
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     COMPLAINT 3:19-cv-05181                                                  (480) 444-0020
               Case 3:19-cv-05181-BHS Document 20 Filed 04/02/19 Page 6 of 28



 1   Psalm 139.

 2           26.      Cedar Park therefore believes and teaches its members and others that abortion ends

 3   a human life.

 4           27.      Cedar Park believes and teaches that abortion violates the Bible’s command against

 5   the intentional destruction of innocent human life.

 6           28.      Cedar Park believes and teaches that abortion is inconsistent with the dignity

 7   conferred by God on humankind, who are made in His image.

 8           29.      Cedar Park believes and teaches that participation in, facilitation of, or payment for

 9   abortion in any circumstance is a grave sin.

10           30.      Consistent with its religious beliefs, Cedar Park seeks to recognize and preserve the

11   sanctity of human life from conception until natural death.

12           31.      Cedar Park expects its employees to abide by and agree with the church’s moral

13   and ethical standards, including its religious beliefs and teachings on abortion, in both their work

14   life and private life.

15           32.      Accordingly, Cedar Park requires all employees to sign a statement agreeing to

16   abide by its standards of conduct. The standards of conduct provide:

17                 Cedar Park employees must conduct their professional and personal lives
                   in a manner that provides clear evidence of a Christian life and character
18                 that commends the Gospel, strengthens the Church and honors God.
                   Cedar Park expects its employees to refrain from behavior that conflicts
19                 or appears inconsistent with evangelical Christian standards as
                   determined in the sole and absolute discretion of Cedar Park. Among
20                 other things, Cedar Park expects employees to follow biblical standards
                   for human sexuality. These standards prescribe a heterosexual
21                 monogamous relationship within the covenant of marriage and sexual
                   chastity for those who are unmarried. Fornication, adultery,
22                 homosexuality, and cohabitation are prohibited. Cedar Park also
                   prohibits the abuse of alcohol, prescription and non-prescription drug
23                 abuse and inappropriate speech, which may include, but is not limited to,
                   use of vulgar or sexually suggestive words, gossip, and insubordinate
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     FIRST AMENDED VERIFIED                              6                 Scottsdale, Arizona 85260
     COMPLAINT 3:19-cv-05181                                                    (480) 444-0020
              Case 3:19-cv-05181-BHS Document 20 Filed 04/02/19 Page 7 of 28



 1                speech. Cedar Park expects all of its employees to strive toward living a
                  life that reflects the values, mission, and faith of Cedar Park.
 2
            33.      Cedar Park promotes and supports its pro-life mission with a variety of events,
 3
     ministries, and partnerships.
 4
            34.      Cedar Park hosts a Sunday service known as “Presentation Sunday” annually. At
 5
     this service, Cedar Park prays for and supports couples experiencing infertility. This religious
 6
     service has been held for approximately 30 years.
 7
            35.      Cedar Park partners with a local pregnancy center, and has hosted a mobile
 8
     ultrasound unit at Cedar Park’s campus. This unit is used to perform ultrasounds on expectant
 9
     mothers who may be considering abortion so that they will learn the truth about the human life
10
     growing inside them and choose to preserve it.
11
            36.      Cedar Park has seen and facilitated approximately 1,000 embryo adoptions in
12
     recent years.
13
            37.      Cedar Park staff and members attend the annual March for Life in Olympia,
14
     Washington every year, to promote the organization’s pro-life views.
15
            38.      Cedar Park hosts a local chapter of the Royal Family Kids Camp, an annual camp
16
     for children in foster care. At this camp, Cedar Park hosts approximately 75 children each year.
17
     Cedar Park’s Employer-Sponsored Health Insurance
18
            39.      Cedar Park seeks to promote the physical, emotional, and spiritual well-being of its
19
     employees and their families and thus offers health insurance to its employees as a benefit of
20
     employment.
21
            40.      Cedar Park believes that it has a religious obligation to provide for the personal
22
     needs of its employees, which includes the provision of health insurance coverage.
23
            41.      Cedar Park believes that it can only provide this coverage consistent with its
24
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     FIRST AMENDED VERIFIED                             7                Scottsdale, Arizona 85260
     COMPLAINT 3:19-cv-05181                                                  (480) 444-0020
              Case 3:19-cv-05181-BHS Document 20 Filed 04/02/19 Page 8 of 28



 1   religious beliefs.

 2           42.     Cedar Park evaluated its various options and determined that purchasing a group

 3   health insurance plan was the best way for the church to provide health care coverage consistent

 4   with its call to care for its employees and its legal obligations under the Patient Protection and

 5   Affordable Care Act (“ACA”).

 6           43.     Cedar Park has evaluated becoming self-insured and determined that it is not a

 7   viable option. It would cost Cedar Park approximately $243,125 in additional annual costs to

 8   become self-insured, and that number is expected to double within the next several years due to

 9   increase in plan use. Those are monies that Cedar Park spends on its many religious ministries,

10   and if these funds were diverted to self-insurance costs, these religious ministries would be reduced

11   to the same extent.

12           44.     Therefore, Cedar Park has determined that offering group health insurance is its

13   only viable option.

14           45.     As part of its commitment to care for its employees and their families, Cedar Park

15   provides comprehensive insurance coverage for maternity care. Cedar Park believes that maternity

16   care is an integral part of its call to provide for the health of its employees and their families.

17           46.     Because of its religious beliefs, however, Cedar Park offers health insurance

18   coverage to its employees in a way that does not also cause it to pay for abortions or abortifacient

19   contraceptives, including, inter alia, emergency contraception and intrauterine devices.

20           47.     To that end, Cedar Park’s current group health plan excludes coverage for

21   abortions or abortifacient contraceptives.

22   Senate Bill 6219

23           48.     SB 6219 provides that “if a health plan issued or renewed on or after January 1,

24   2019, [sic] provides coverage for maternity care or services, the health plan must also provide a
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                                                                              15100 N. 90th Street
     FIRST AMENDED VERIFIED                              8                 Scottsdale, Arizona 85260
     COMPLAINT 3:19-cv-05181                                                    (480) 444-0020
                Case 3:19-cv-05181-BHS Document 20 Filed 04/02/19 Page 9 of 28



 1   covered person with substantially equivalent coverage to permit the abortion of a pregnancy.”

 2   Exh. A at § 3(1) (emphasis added). Furthermore, a health plan subject to this requirement “may

 3   not limit in any way a person’s access to services related to the abortion of a pregnancy.” Id. at

 4   § 3(2)(a) (emphasis added).

 5             49.   SB 6219 further requires all insurance plans issued or renewed on or after

 6   January 1, 2019 to provide coverage for “[a]ll contraceptive drugs, devices, and other products,

 7   [sic] approved by the federal food and drug administration, including over-the-counter

 8   contraceptive drugs, devices, and products, approved by the federal food and drug administration,”

 9   “voluntary sterilization procedures,” and “[t]he consultations, examinations, procedures, and

10   medical services that are necessary to prescribe, dispense, insert, deliver, distribute, administer, or

11   remove the drugs, devices, and other services” related to the same. Exh. A at § 2(1) (emphasis

12   added).

13             50.   SB 6219 does not include an exemption for group health insurance plans purchased

14   by churches or other employers that have religious beliefs against abortion or abortifacient

15   contraceptives.

16             51.   Discovery and investigation will demonstrate that Washington state actors worked

17   with various pro-abortion organizations including, inter alia, Planned Parenthood and NARAL

18   Pro-Choice Washington, to draft, promote, pass, and implement SB 6219. Discovery and

19   investigation will further demonstrate that these organizations opposed allowing religious

20   organizations to operate according to their religious beliefs, and supported mandating the

21   application of SB 6219’s provision of insurance coverage for abortion. Defendants joined and

22   agreed with this targeting.

23             52.   Discovery and investigation will demonstrate that this law targets organizations that

24   have religious and moral beliefs against abortion. Washington State has a history of targeting
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     FIRST AMENDED VERIFIED                             9                 Scottsdale, Arizona 85260
     COMPLAINT 3:19-cv-05181                                                   (480) 444-0020
             Case 3:19-cv-05181-BHS Document 20 Filed 04/02/19 Page 10 of 28



 1   religious and moral pro-life organizations and individuals.

 2          53.     Washington State Senator Steve Hobbs, the sponsor of SB 6219, is cited in media

 3   reports as stating that religious organizations can sue if they do not want to provide insurance

 4   coverage for abortion. See, e.g., Matt Markovich, Catholic Bishops of Wash. ask Gov. Inslee to

 5   Veto      Abortion       Insurance        Bill,    KOMO          NEWS,       March         5,    2018,

 6   https://komonews.com/news/local/catholic-bishops-of-wash-ask-gov-inlsee-to-veto-abortion-

 7   insurance-bill (last visited Mar. 15, 2019). In reference to concern from religious organizations

 8   that they would be subject to SB 6219, Senator Hobbs is quoted as stating “Health care is about

 9   the individual, not about them [religious organizations].” Id.

10          54.     The strong statutory language, lack of any church exception, and anticipated

11   evidence that pro-abortion groups assisted in drafting and enacting SB 6219, indicates that

12   Washington and its officials deliberately targeted religious organizations and intentionally violated

13   those organizations’ religious beliefs.

14          55.     SB 6219 provides that “[i]f the application of this section [requiring insurance

15   coverage for abortion] to a health plan results in noncompliance with federal requirements that are

16   a prescribed condition to the allocation of federal funds to the state, this section is inapplicable to

17   the plan to the minimum extent necessary for the state to be in compliance. The inapplicability of

18   this section to a specific health plan under this subsection does not affect the operation of this

19   section in other circumstances.” Exh. A at § 3(5). Pursuant to this provision, SB 6219 allows for

20   exemptions in cases where denial of an exemption would result in the violation of federal

21   conditions on state funding.

22          56.     Under Washington State law, “[n]o individual health care provider, religiously

23   sponsored health carrier, or health care facility may be required by law or contract in any

24   circumstances to participate in the provision of or payment for a specific service if they object to
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                                                                             15100 N. 90th Street
     FIRST AMENDED VERIFIED                             10                Scottsdale, Arizona 85260
     COMPLAINT 3:19-cv-05181                                                   (480) 444-0020
             Case 3:19-cv-05181-BHS Document 20 Filed 04/02/19 Page 11 of 28



 1   so doing for reason of conscience or religion. No person may be discriminated against in

 2   employment or professional privileges because of such objection.” RCW § 48.43.065.

 3          57.    Discovery and investigation will demonstrate that the Insurance Commissioner

 4   has exempted at least one insurance carrier from complying with SB 6219’s provisions requiring

 5   insurance coverage of abortion services.

 6          58.    Washington State law exempts various insurance plans from the definition of

 7   “health plans” to which SB 6219 is applicable. RCW § 48.43.005(26). Washington law therefore

 8   exempts various insurance plans from SB 6219, including:

 9                 (a)     Long-term care insurance governed by chapter 48.84 or
                           48.83 RCW;
10
                   (b)     Medicare supplemental health insurance governed by
11                         chapter 48.66 RCW;

12                 (c)     Coverage supplemental to the coverage provided under
                           chapter 55, Title 10, United States Code;
13
                   (d)     Limited health care services offered by limited health care
14                         service contractors in accordance with RCW 48.44.035;

                   (e)     Disability income;
15
                   (f)     Coverage incidental to a property/casualty liability
16                         insurance policy such as automobile personal injury
                           protection coverage and homeowner guest medical;
17
                   (g)     Workers’ compensation coverage;
18
                   (h)     Accident only coverage;
19
                   (i)     Specified disease or illness-triggered fixed payment
20                         insurance, hospital confinement fixed payment insurance, or
                           other fixed payment insurance offered as an independent,
21                         noncoordinated benefit;

22                 (j)     Employer-sponsored self-funded health plans;

23                 (k)     Dental only and vision only coverage;

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                                                                         15100 N. 90th Street
     FIRST AMENDED VERIFIED                          11               Scottsdale, Arizona 85260
     COMPLAINT 3:19-cv-05181                                               (480) 444-0020
             Case 3:19-cv-05181-BHS Document 20 Filed 04/02/19 Page 12 of 28



 1                  (l)     Plans deemed by the insurance commissioner to have a
                            short-term limited purpose or duration, or to be a student-
 2                          only plan that is guaranteed renewable while the covered
                            person is enrolled as a regular full-time undergraduate or
 3                          graduate student at an accredited higher education
                            institution, after a written request for such classification by
 4                          the carrier and subsequent written approval by the insurance
                            commissioner; and
 5
                    (m)      Civilian health and medical program for the veterans affairs
 6                          administration (CHAMPVA).

 7   RCW § 48.43.005(26)

 8          59.     Pursuant to the Washington State law, “any person violating any provision of [the

 9   insurance code] is guilty of a gross misdemeanor and will, upon conviction, be fined not less than

10   ten dollars nor more than one thousand dollars, or imprisoned for not more than three hundred

11   sixty-four days, or both, in addition to any other penalty or forfeiture provided herein or otherwise

12   by law.” RCW § 48.01.080.

13          60.     Refusal to provide insurance coverage for abortion may constitute an unfair practice

14   pursuant to RCW § 48.30.010. Section (1) of the statute states that “[n]o person engaged in the

15   business of insurance shall engage in unfair methods of competition or in unfair or deceptive acts

16   or practices in the conduct of such business as such methods, acts, or practices are defined pursuant

17   to subsection (2) of this section.” RCW § 48.30.010(1). Section (2) provides: “[i]n addition to such

18   unfair methods and unfair or deceptive acts or practices as are expressly defined and prohibited by

19   this code, the commissioner may from time to time by regulation promulgated pursuant to chapter

20   34.05 RCW, define other methods of competition and other acts and practices in the conduct of

21   such business reasonably found by the commissioner to be unfair or deceptive after a review of all

22   comments received during the notice and comment rule-making period.” RCW § 48.30.010(2).

23          61.     Refusal to provide insurance coverage for abortion may also constitute an unfair

24   practice pursuant to RCW § 48.30.300, which provides: “A person or entity engaged in the
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                                                                            15100 N. 90th Street
     FIRST AMENDED VERIFIED                            12                Scottsdale, Arizona 85260
     COMPLAINT 3:19-cv-05181                                                  (480) 444-0020
             Case 3:19-cv-05181-BHS Document 20 Filed 04/02/19 Page 13 of 28



 1   business of insurance in this state may not refuse to issue any contract of insurance or cancel or

 2   decline to renew such contract because of the sex, marital status, or sexual orientation as defined

 3   in RCW 49.60.040, or the presence of any sensory, mental, or physical handicap of the insured or

 4   prospective insured. The amount of benefits payable, or any term, rate, condition, or type of

 5   coverage may not be restricted, modified, excluded, increased, or reduced on the basis of the sex,

 6   marital status, or sexual orientation, or be restricted, modified, excluded, or reduced on the basis

 7   of the presence of any sensory, mental, or physical handicap of the insured or prospective insured.

 8   This subsection does not prohibit fair discrimination on the basis of sex, or marital status, or the

 9   presence of any sensory, mental, or physical handicap when bona fide statistical differences in risk

10   or exposure have been substantiated.”

11          62.     Unfair acts and practices, such as those contained in RCW § 48.30.010 and RCW

12   § 48.30.300, are punishable by “a sum not to exceed two hundred and fifty dollars for each

13   violation committed” following statutory notice from the Insurance commissioner. RCW §

14   48.30.010(5). Additionally, “the [insurance] commissioner may take such other or additional

15   action as is permitted under the insurance code for violation of a regulation.” RCW § 48.30.010(6).

16   The Effect of SB 6219 on Cedar Park

17          63.     Because Cedar Park’s employee health care plan provides comprehensive coverage

18   for maternity care, SB 6219 requires Cedar Park to also provide coverage for abortions.

19          64.     Defendants have made no allowance for the religious freedom of religious

20   employers and churches, such as Cedar Park, who object to paying for, facilitating access to, or

21   providing insurance coverage for abortion or abortifacient contraceptives under any circumstance.

22          65.     Given the number of Cedar Park’s full-time employees, the ACA requires Cedar

23   Park to provide health insurance to their employees.

24          66.     The ACA requires that Cedar Park provide full coverage for maternity care.
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                                                                           15100 N. 90th Street
     FIRST AMENDED VERIFIED                           13                Scottsdale, Arizona 85260
     COMPLAINT 3:19-cv-05181                                                 (480) 444-0020
               Case 3:19-cv-05181-BHS Document 20 Filed 04/02/19 Page 14 of 28



 1             67.   Moreover, the ACA imposes crippling monetary penalties on employers that do not

 2   provide health insurance in accordance with its standards to their employees.

 3             68.   SB 6219 thus forces Cedar Park to choose between violating state law and violating

 4   its deeply held religious beliefs by paying for abortion coverage.

 5             69.   Cedar Park relies on tithes and donations from members to fulfill its Christian

 6   mission.

 7             70.   Upon information and belief, members who give to Cedar Park do so with an

 8   understanding of Cedar Park’s Christian mission and with the assurance that Cedar Park will

 9   continue to adhere to and transmit authentic Christian teaching on morality and the sanctity of

10   human life.

11             71.   Cedar Park cannot use donated funds for purposes known to be religiously and

12   morally repugnant to its members and in ways that violate the implicit trust of the purpose of their

13   tithes and donations.

14             72.   SB 6219 imposes a burden on Cedar Park’s ability to recruit and retain employees

15   and places Cedar Park at a competitive disadvantage by creating uncertainty as to whether it will

16   be able to offer group health insurance in the future.

17             73.   Without injunctive and declaratory relief as requested herein, Cedar Park will suffer

18   irreparable harm beginning on August 1, 2019.

19             74.   Cedar Park has no adequate remedy at law.

20                                                COUNT I
                                 Violation of the Free Exercise Clause of the
21
                             First Amendment to the United States Constitution
22             75.   Plaintiff realleges all matters set forth in paragraphs 1–74 and incorporates them
23   herein.
24
                                                                       ALLIANCE DEFENDING FREEDOM
                                                                            15100 N. 90th Street
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     COMPLAINT 3:19-cv-05181                                                  (480) 444-0020
             Case 3:19-cv-05181-BHS Document 20 Filed 04/02/19 Page 15 of 28



 1           76.     Cedar Park’s religious beliefs prohibit it from providing coverage for voluntary or

 2   elective abortions or abortifacient contraceptives.

 3           77.     Cedar Park’s religious beliefs further prohibit it from purchasing or contracting for

 4   a group health insurance plan that covers voluntary or elective abortions or abortifacient

 5   contraceptives.

 6           78.     Cedar Park has a sincere religious objection to providing coverage for abortions

 7   and abortifacient contraceptives because it believes that abortion ends an innocent human life.

 8           79.     As part of its religious beliefs, Cedar Park supports families through the provision

 9   of health insurance. In order to adequately provide for those families, maternity coverage is

10   essential. Moreover, Cedar Park’s pro-life religious beliefs compel it to care for mothers by

11   providing maternity care as part of its insurance plans. Plus, the Affordable Care Act requires that

12   Cedar Park provide maternity care coverage.

13           80.     When Cedar Park complies with its sincerely held religious beliefs regarding the

14   sanctity of human life, it exercises religion within the meaning of the Free Exercise Clause

15           81.     SB 6219 imposes a substantial burden on Cedar Park’s religious exercise and

16   coerces it to change or violate its religious beliefs.

17           82.     Defendants substantially burden Cedar Park’s religious exercise when they force it

18   to choose between following its religious beliefs and suffering debilitating penalties or violating

19   its convictions in order to avoid those penalties.

20           83.     SB 6219 is neither neutral nor generally applicable.

21           84.     SB 6219 is neither neutral nor generally applicable because it requires churches and

22   other religious employers to provide insurance coverage for abortion, despite such coverage

23   violating the religious beliefs of myriad religious organizations.

24           85.     Discovery and investigation will demonstrate that this law targets organizations that
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     COMPLAINT 3:19-cv-05181                                                     (480) 444-0020
             Case 3:19-cv-05181-BHS Document 20 Filed 04/02/19 Page 16 of 28



 1   have religious and moral beliefs against abortion. Washington State has a history of targeting

 2   religious and moral pro-life organizations and individuals.

 3          86.     Discovery and investigation will demonstrate that Washington state actors worked

 4   with various pro-abortion organizations including, inter alia, Planned Parenthood and NARAL

 5   Pro-Choice Washington, to draft, promote, pass, and implement SB 6219. Discovery and

 6   investigation will further demonstrate that these organizations opposed allowing religious

 7   organizations to operate according to their religious beliefs, and supported mandating the

 8   application of SB 6219’s provision of insurance coverage for abortion. Defendants joined and

 9   agreed with this targeting.

10          87.     SB 6219 is neither neutral nor generally applicable because it contains exemptions

11   to its requirements.

12          88.     Pursuant to Washington State law, “[n]o individual health care provider, religiously

13   sponsored health carrier, or health care facility may be required by law or contract in any

14   circumstances to participate in the provision of or payment for a specific service if they object to

15   so doing for reason of conscience or religion.” RCW § 48.43.065. Therefore, SB 6219 is not

16   generally applicable because individual health care providers, religiously sponsored health

17   carriers, and health care facilities are exempt if they object to providing insurance coverage for

18   abortion for reasons of conscience or religion.

19          89.     Under SB 6219, “[i]f the application of this section [requiring insurance coverage

20   for abortion] to a health plan results in noncompliance with federal requirements that are a

21   prescribed condition to the allocation of federal funds to the state, this section is inapplicable to

22   the plan to the minimum extent necessary for the state to be in compliance. The inapplicability of

23   this section to a specific health plan under this subsection does not affect the operation of this

24   section in other circumstances.” Exh. A at § 3(5). Pursuant to this provision, SB 6219 allows for
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     FIRST AMENDED VERIFIED                            16                Scottsdale, Arizona 85260
     COMPLAINT 3:19-cv-05181                                                  (480) 444-0020
             Case 3:19-cv-05181-BHS Document 20 Filed 04/02/19 Page 17 of 28



 1   exemptions in cases where denial of exemption would result in the violation of federal conditions

 2   on state funding, and is therefore neither neutral nor generally applicable.

 3          90.     Discovery and investigation will demonstrate that the Insurance Commissioner has

 4   exempted at least one insurance issuer from SB 6219’s requirements. SB 6219 is therefore neither

 5   neutral nor generally applicable.

 6          91.     SB 6219 is also neither neutral nor generally applicable because it exempts plans

 7   that do not provide comprehensive maternity care coverage from its requirement that group health

 8   plans provide abortion coverage.

 9          92.     Washington State law exempts various insurance plans from the definition of

10   “health plans” to which SB 6219 is applicable. RCW § 48.43.005(26). SB 6219 is therefore neither

11   neutral nor generally applicable.

12          93.     The Free Exercise Clause prohibits the government from disapproving of or

13   showing hostility toward a particular religion or religion in general.

14          94.     SB 6219 disapproves of or shows hostility toward religious organizations who

15   believe that abortion and abortifacients are a sin.

16          95.     SB 6219 furthers no compelling governmental interest.

17          96.     Guaranteeing unfettered access to elective and voluntary abortions through

18   employee health insurance plans is not a significant social problem.

19          97.     Guaranteeing unfettered access to elective and voluntary abortions through

20   employee health insurance plans is not a problem for employers who only hire employees who

21   ascribe to the religious belief that abortion and abortifacients are a sin.

22          98.     Compelling Cedar Park and other religious organizations to pay for elective and

23   voluntary abortions or abortifacient contraceptives is not the least restrictive means of advancing

24   any interest that the government might have.
                                                                         ALLIANCE DEFENDING FREEDOM
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     COMPLAINT 3:19-cv-05181                                                    (480) 444-0020
             Case 3:19-cv-05181-BHS Document 20 Filed 04/02/19 Page 18 of 28



 1           99.      SB 6219 constitutes government-imposed coercion on Cedar Park to change or

 2   violate its sincerely held religious beliefs.

 3           100.     SB 6219 chills Cedar Park’s religious exercise.

 4           101.     SB 6219 exposes Cedar Park to substantial monetary and criminal penalties for its

 5   religious exercise.

 6           102.     SB 6219 exposes Cedar Park to substantial competitive disadvantages because of

 7   uncertainties about its health insurance benefits caused by SB 6219.

 8           103.     SB 6219 imposes a burden on Cedar Park’s employee recruitment efforts by

 9   creating uncertainty as to whether or on what terms it will be able to offer health insurance or will

10   suffer penalties therefrom.

11           104.     As a matter of religious belief, Cedar Park provides health insurance to its

12   employees. It cannot refuse to provide health insurance in order to avoid application of SB 6219

13   without violating its sincerely held religious beliefs.

14           105.     As a matter of religious belief, Cedar Park provides maternity coverage in its

15   employee health care plan. It cannot refuse to provide maternity coverage in order to avoid

16   application of SB 6219 without violating its sincerely held religious beliefs.

17           106.     If Cedar Park drops maternity coverage to avoid application of SB 6219, it will be

18   in violation of federal law and will experience a competitive disadvantage in its efforts to recruit

19   and retain employees.

20           107.     Defendants’ implementation and enforcement of SB 6219 violates the Free

21   Exercise Clause of the First Amendment of the United States Constitution, facially and as applied

22   to Cedar Park.

23           108.     SB 6219 also violates Cedar Park’s “hybrid” rights under the Free Exercise Clause

24   in conjunction with their right to Equal Protection guaranteed by the Fourteenth Amendment.
                                                                        ALLIANCE DEFENDING FREEDOM
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     COMPLAINT 3:19-cv-05181                                                   (480) 444-0020
               Case 3:19-cv-05181-BHS Document 20 Filed 04/02/19 Page 19 of 28



 1             109.   The First Amendment’s Free Exercise Clause requires the government to satisfy

 2   strict scrutiny before it may burden an organization’s exercise of religion in conjunction with its

 3   right to equal protection.

 4             110.   Defendants cannot show a compelling interest for imposing SB 6219 on Cedar

 5   Park, nor can they demonstrate that SB 6219 pursues its goals in a means least restrictive of Cedar

 6   Park’s rights.

 7             111.   Accordingly, SB 6219 violates Cedar Park’s hybrid rights of Free Exercise

 8   guaranteed by the First Amendment and Equal Protection guaranteed by the Fourteenth

 9   Amendment.

10             112.   SB 6219 further violates the Free Exercise Clause because it requires Cedar Park

11   to violate long-established historical religious practices involving the sanctity of human life and

12   opposition to abortion.

13             113.   It violates the Free Exercise Clause to require Cedar Park to provide insurance

14   coverage for abortion in its employee insurance plan regardless of whether SB 6219 is neutral or

15   generally applicable.

16             114.   WHEREFORE, Cedar Park respectfully requests that the Court grant the relief set

17   forth in the prayer for relief.

18                                               COUNT II
                              Violation of the Equal Protection Clause of the
19                       Fourteenth Amendment to the United States Constitution
20             115.   Plaintiff realleges all matters set forth in paragraphs 1–74 and incorporates them

21   herein.

22             116.   The Fourteenth Amendment to the United States Constitution guarantees Cedar

23   Park equal protection of the laws, which prohibits Defendants from treating Cedar Park differently

24   than similarly situated persons and businesses.
                                                                      ALLIANCE DEFENDING FREEDOM
                                                                           15100 N. 90th Street
     FIRST AMENDED VERIFIED                            19               Scottsdale, Arizona 85260
     COMPLAINT 3:19-cv-05181                                                 (480) 444-0020
             Case 3:19-cv-05181-BHS Document 20 Filed 04/02/19 Page 20 of 28



 1          117.    The government may not treat some employers disparately as compared to similarly

 2   situated employers, based on a fundamental right.

 3          118.    Washington State law exempts health care providers, religiously sponsored health

 4   carriers, and health care facilities from being forced “to participate in the provision of or payment

 5   for a specific service if they object to so doing for reason of conscience or religion.” RCW

 6   § 48.43.065. Therefore, health care providers, religiously sponsored health carriers, and health care

 7   facilities that have a conscientious or moral objection to providing insurance coverage for abortion

 8   are exempt from SB 6219.

 9          119.    SB 6219 therefore treats employers who are not health care providers, religiously

10   sponsored health carriers, or health care facilities differently than other employers that have

11   conscientious or moral objections to providing insurance coverage for abortion or abortifacient

12   contraceptives.

13          120.       SB 6219 exempts plans that do not provide comprehensive maternity care coverage

14   from its requirement that group health plans provide abortion coverage.

15          121.       SB 6219 treats employers who do not provide comprehensive maternity care

16   coverage differently than employers who do provide such coverage.

17          122.    Washington State law exempts various insurance plans from the definition of

18   “health plans” to which SB 6219 is applicable. RCW § 48.43.005(26). See infra ¶ 58.

19          123.       Therefore, SB 6219 treats similarly situated employers differently.

20          124.       Defendants lack a rational or compelling state interest for such disparate treatment

21   of Cedar Park and other religious employers because guaranteeing unfettered access to elective

22   and voluntary abortions through employee health insurance plans is not a significant social

23   problem.

24          125.       Defendants lack a rational or compelling state interest for such disparate treatment
                                                                        ALLIANCE DEFENDING FREEDOM
                                                                             15100 N. 90th Street
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     COMPLAINT 3:19-cv-05181                                                   (480) 444-0020
               Case 3:19-cv-05181-BHS Document 20 Filed 04/02/19 Page 21 of 28



 1   of Cedar Park and other religious employers because guaranteeing unfettered access to elective

 2   and voluntary abortions through employee health insurance plans is not a significant problem for

 3   employers who only hire employees who ascribe to the religious belief that abortions and

 4   abortifacients are a sin.

 5             126.   Defendants’ disparate treatment of Cedar Park and other religious employers is not

 6   narrowly tailored because compelling Cedar Park and other religious employers to pay for

 7   abortions in violation of their religious beliefs is not the least restrictive means of advancing any

 8   legitimate interest the government may have.

 9             127.   Defendants’ implementation and enforcement of SB 6219 violates the Equal

10   Protection Clause of the Fourteenth Amendment to the United States Constitution, facially and as

11   applied to Cedar Park.

12             128.   WHEREFORE, Cedar Park respectfully requests that the Court grant the relief set

13   forth hereinafter in the prayer for relief.

14                                                 COUNT III
                               Violation of the Establishment Clause of the
15
                            First Amendment to the United States Constitution
16             129.   Plaintiff realleges all matters set forth in paragraphs 1–74 and incorporates them

17   herein.

18             130.   The Establishment Clause of the First Amendment prohibits the government from

19   disapproving of or showing hostility toward a particular religion or religion in general.

20             131.   SB 6219 discriminates between religions and denominations and exhibits hostility

21   towards certain religious beliefs.

22             132.   In implementing SB 6219, Defendants have adopted a particular theological view

23   of what is acceptable moral complicity in provision of abortion and imposed it on all churches and

24   religious employers who must either conform or incur ruinous fines.
                                                                       ALLIANCE DEFENDING FREEDOM
                                                                            15100 N. 90th Street
     FIRST AMENDED VERIFIED                            21                Scottsdale, Arizona 85260
     COMPLAINT 3:19-cv-05181                                                  (480) 444-0020
               Case 3:19-cv-05181-BHS Document 20 Filed 04/02/19 Page 22 of 28



 1             133.   Defendants implemented and enforce SB 6219 with full knowledge that some

 2   religions and denominations object to participating in, paying for, facilitating, or otherwise

 3   supporting abortion, while others do not.

 4             134.   No exemption is available to religious employers who, like Cedar Park, believe that

 5   paying for abortion or abortifacient contraceptives is sinful.

 6             135.   SB 6219 was designed to make it impossible for Cedar Park and other religious

 7   employers to comply with their religious beliefs.

 8             136.   SB 6219 suppresses the religious exercise of Cedar Park and other similarly situated

 9   churches and religious employers.

10             137.   SB 6219 unconstitutionally prefers those religions and denominations that do not

11   have religious objections to abortion or abortifacient contraceptives and exhibits hostility towards

12   those that do by forcing them to pay for abortions and abortifacient contraceptives in violation of

13   their sincerely held religious beliefs.

14             138.   Defendants’ implementation and enforcement of SB 6219 violates the

15   Establishment Clause of the First Amendment to the United States Constitution, facially and as

16   applied to Cedar Park.

17             139.   WHEREFORE, Cedar Park respectfully requests that the Court grant the relief set

18   forth hereinafter in the prayer for relief.

19                                                 COUNT IV

20                Violation of Religious Autonomy Guaranteed by the Religious Clauses
                        of the First Amendment to the United States Constitution
21             140.   Plaintiff realleges all matters set forth in paragraphs 1–74 and incorporates them

22   herein.

23             141.   SB 6219 as-applied violates Cedar Park’s rights under the Religion Clauses of the

24   First Amendment to the United States Constitution.
                                                                        ALLIANCE DEFENDING FREEDOM
                                                                             15100 N. 90th Street
     FIRST AMENDED VERIFIED                            22                 Scottsdale, Arizona 85260
     COMPLAINT 3:19-cv-05181                                                   (480) 444-0020
             Case 3:19-cv-05181-BHS Document 20 Filed 04/02/19 Page 23 of 28



 1           142.    The Free Exercise and the Establishment Clauses of the First Amendment, together,

 2   invest in churches the power to ordain their own affairs, including to decide for themselves, free

 3   from state interference, matters of church government, faith, doctrine, the communication of that

 4   doctrine, and operation of their own institutions.

 5           143.    This freedom extends to Cedar Park’s ability to choose employee insurance

 6   coverage that is consistent with Cedar Park’s religious beliefs.

 7           144.    Cedar Park has determined that its insurance plan must be consistent with their

 8   religious beliefs regarding the sanctity of life and abortion. Therefore, Cedar Park cannot provide

 9   insurance coverage for abortion or abortifacient contraceptives in its employee health plan

10   consistent with its religious beliefs.

11           145.    SB 6219 directly and substantially interferes with Cedar Park’s First Amendment

12   right to order their own internal affairs in matters involving church government, faith, doctrine,

13   the communication of that doctrine, and the operation of the church, and entangles the government

14   in the internal affairs of Cedar Park.

15           146.    SB 6219 is subject to strict scrutiny because it implicates more constitutional rights

16   than just the Free Exercise rights of Cedar Park.

17           147.    SB 6219 may not infringe on Cedar Park’s rights under the Religion Clauses of the

18   First Amendment, absent a compelling governmental interest.

19           148.    The government has no compelling interest that would justify infringing upon

20   Cedar Park’s free exercise and antiestablishment rights by interfering with matters of internal

21   governance.

22           149.    Any interest the government does possess in infringing Cedar Park’s free exercise

23   and antiestablishment rights is not advanced in the least restrictive means available.

24           150.    Defendants’ implementation and enforcement of SB 6219 violates the Free
                                                                        ALLIANCE DEFENDING FREEDOM
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     COMPLAINT 3:19-cv-05181                                                   (480) 444-0020
             Case 3:19-cv-05181-BHS Document 20 Filed 04/02/19 Page 24 of 28



 1   Exercise and Establishment Clauses, facially and as applied to Cedar Park.

 2           151.    WHEREFORE, Cedar Park respectfully requests that the Court grant the relief set

 3   forth hereinafter in the prayer for relief.

 4                                         PRAYER FOR RELIEF

 5           WHEREFORE, Plaintiff respectfully requests that:

 6           A)      This Court render a Declaratory Judgment, adjudging and declaring that SB 6219

 7   violates the First and Fourteenth Amendments to the United States Constitution, facially and as

 8   applied to Cedar Park;

 9           B)      This Court enter an injunction preliminarily and permanently enjoining

10   Defendants and their agents from enforcing SB 6219, facially and as applied to Cedar Park;

11           C)      This Court issue the requested injunctive relief without a condition of bond or

12   other security being required of Cedar Park;

13           D)      This Court award Plaintiff attorney fees and costs against the Defendants under 42

14   U.S.C. § 1988, and any other applicable statute; and

15           E)      This Court award such other and further relief as it deems equitable and just.

16

17                   Respectfully submitted this 2nd day of April, 2019,

18                                                 By: s/Kristen K. Waggoner
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19                                                 Kevin H. Theriot (AZ Bar #030446)*
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     COMPLAINT 3:19-cv-05181                                                  (480) 444-0020
          Case 3:19-cv-05181-BHS Document 20 Filed 04/02/19 Page 25 of 28



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 5                                 * Motions to appear pro hac vice submitted
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     FIRST AMENDED VERIFIED              25                Scottsdale, Arizona 85260
     COMPLAINT 3:19-cv-05181                                    (480) 444-0020
Case 3:19-cv-05181-BHS Document 20 Filed 04/02/19 Page 26 of 28
             Case 3:19-cv-05181-BHS Document 20 Filed 04/02/19 Page 27 of 28



 1                                   CERTIFICATE OF SERVICE

 2          I hereby certify that on April 2, 2019, I electronically filed the foregoing document with

 3   the Clerk of Court using the CM/ECF system, which will send notification of such filing to the

 4   following:

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14

15            DATED: April 2, 2019               s/Kristen K. Waggoner
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     COMPLAINT 3:19-cv-05181                                                 (480) 444-0020
          Case 3:19-cv-05181-BHS Document 20 Filed 04/02/19 Page 28 of 28



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 3                                    * Motions to appear pro hac vice submitted

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